                             Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 1 of 306
                                                        ALABAMA SJIS CASE DETAIL
                                                                                                                      PREPARED FOR: BLAIR GRAFFEO
                             County:  02     Case Number: CV-2017-902787.00   Court Action:
                             Style: ESTATE OF BRUCE BROCKEL ETC V. JOHN PATRICK COUCH ET AL
                                                                                                                                                     Real Time



Case
        Case Information
     County:          02-MOBILE                   Case Number:           CV-2017-902787.00                       Judge:          BHB:BEN H. BROOKS
     Style:           ESTATE OF BRUCE BROCKEL ETC V. JOHN PATRICK COUCH ET AL
     Filed:           10/25/2017                 Case Status:            ACTIVE                                  Case Type: WRONGFUL DEATH
     Trial Type:      JURY                        Track:                 FAST                                    Appellate Case:      0
     No of Plaintiffs: 1                          No of Defendants:      11




        Damages
     Damage Amt:      0.00                        Punitive Damages:               0.00                           General Damages:         0.00
     No Damages:                                  Compensatory Damages:           0.00
     Pay To:                                      Payment Frequency:                                             Cost Paid By:


        Court Action
    Court Action Code:                                 Court Action Desc:                                       Court Action Date:
    Num of Trial days:              0                  Num of Liens:          0                                 Judgment For:
    Dispositon Date of Appeal:                         Disposition Judge: :                                     Disposition Type:
    Revised Judgement Date:                            Minstral:                                                Appeal Date:
    Date Trial Began but No Verdict (TBNV1):
    Date Trial Began but No Verdict (TBNV2):



        Comments
    Comment 1:
    Comment 2:



      Appeal Information
 Appeal Date:                                   Appeal Case Number:                                              Appeal Court:
 Appeal Status:                                 Orgin Of Appeal:
 Appeal To:                                     Appeal To Desc:                                                  LowerCourt Appeal Date:
 Disposition Date Of Appeal:                                              Disposition Type Of Appeal:


      Administrative Information
    Transfer to Admin Doc Date:                    Transfer Reason:                                     Transfer Desc:
    Number of Subponeas:                          Last Update:            10/26/2017                    Updated By:      RUP



Settings
  Settings
       Date:                  Que:             Time:               Description:
4      07/20/2018             001              09:00 AM            READ - CERT TO BE FILED



Parties
Party 1 - Plaintiff OTHER - ESTATE OF BRUCE BROCKEL DECEASED BY & THROUGH
                                                                                                                                                     EXHIBIT 2
                      Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 2 of 306
     Party Information
  Party:            C001-Plaintiff             Name:        ESTATE OF BRUCE BROCKEL DECEASED BY & THROUGH Type:                     O-OTHER
  Index:            D COUCH JOHN               Alt Name:                                        Hardship:     No         JID:       BHB
  Address 1:        DONNA BROCKEL REPRESENTAT                                                   Phone:        (251) 625-0046
  Address 2:        30421 STATE HWY 181
  City:             DAPHNE                     State:       AL                                  Zip:          36527-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:          F             Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:                  Issued Type:                             Reissue:                                Reissue Type:
  Return:                  Return Type:                             Return:                                 Return Type:
  Served:                  Service Type                             Service On:                             Served By:
  Answer:                  Answer Type:                             Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      BUS021                                BUSBY DAVID ANTHONY                 DAB@DUPM.COM                             (251) 625-0046
  Attorney 2      LAW039                                LAW JONATHON ROBERTS                JRL@DUPM.COM                             (251) 625-0046
  Attorney 3      LON046                                LONG CHARLES BENNETT                BENNETT@LONGANDLONG.COM                  (251) 432-4878




Party 2 - Defendant INDIVIDUAL - COUCH JOHN PATRICK #14290-003
     Party Information
  Party:            D001-Defendant             Name:        COUCH JOHN PATRICK #14290-003                                Type:      I-INDIVIDUAL
  Index:            C DONNA BROCKE             Alt Name:                                        Hardship:     No         JID:       BHB
  Address 1:        C/O FCI FORREST CITY LOW                                                    Phone:        (205) 000-0000
  Address 2:        1400 DALE BUMPERS ROAD
  City:             FORREST CITY               State:       AR                                  Zip:          72335-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:          M             Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      10/26/2017 Issued Type:    C-CERTIFIED MAIL          Reissue:            10/26/2017          Reissue Type: C-CERTIFIED MAIL
  Return:            Return Type:                                   Return:                                 Return Type:
  Served: 10/30/2017 Service Type C-CERTIFIED MAIL                  Service On:                             Served By:
                                                                    Notice of No Service:                   Notice of No Answer:

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                      Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 3 of 306
  Served:                  Service Type                             Service On:
  Answer:                  Answer Type:                             Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      000000                                PRO SE




Party 3 - Defendant INDIVIDUAL - TARABEIN RASSAN M.
     Party Information
  Party:            D002-Defendant             Name:        TARABEIN RASSAN M.                                           Type:      I-INDIVIDUAL
  Index:            C DONNA BROCKE             Alt Name:                                        Hardship:     No         JID:       BHB
  Address 1:        22341 MAIN STREET                                                           Phone:        (205) 000-0000
  Address 2:
  City:             FAIRHOPE                   State:       AL                                  Zip:          36532-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                       Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      10/26/2017 Issued Type:    C-CERTIFIED MAIL          Reissue:            10/26/2017          Reissue Type: C-CERTIFIED MAIL
  Return:            Return Type:                                   Return:                                 Return Type:
  Served: 10/28/2017 Service Type C-CERTIFIED MAIL                  Service On:                             Served By:
  Answer:            Answer Type:                                   Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      000000                                PRO SE




Party 4 - Defendant BUSINESS - PHYSICIAN PAIN SPECIALISTS OF ALABAMA, P.C.
     Party Information
  Party:            D003-Defendant             Name:        PHYSICIAN PAIN SPECIALISTS OF ALABAMA, P.C.                  Type:      B-BUSINESS
  Index:            C DONNA BROCKE             Alt Name:                                        Hardship:     No         JID:       BHB
  Address 1:        JOHN P. COUCH #14290-003                                                    Phone:        (205) 000-0000
  Address 2:        FCI FORREST CITY LOW
  City:             FORREST CITY               State:       AR                                  Zip:          72335-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                       Race:



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                      Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 4 of 306
     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      10/26/2017 Issued Type:    C-CERTIFIED MAIL          Reissue:            11/22/2017          Reissue Type: C-CERTIFIED MAIL
  Return:                  Return Type:                             Return:                                 Return Type:
  Served:                  Service Type                             Service On:                             Served By:
  Answer:                  Answer Type:                             Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      000000                                PRO SE




Party 5 - Defendant BUSINESS - C&R PHARMACY, LLC
     Party Information
  Party:            D004-Defendant             Name:        C&R PHARMACY, LLC                                            Type:      B-BUSINESS
  Index:            C DONNA BROCKE             Alt Name:                                        Hardship:     No         JID:       BHB
  Address 1:        JOHN P. COUCH #14290-003                                                    Phone:        (205) 000-0000
  Address 2:        FCI FORREST CITY LOW
  City:             FORREST CITY               State:       AR                                  Zip:          72335-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                       Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      10/26/2017 Issued Type:    C-CERTIFIED MAIL          Reissue:            11/22/2017          Reissue Type: C-CERTIFIED MAIL
  Return:                  Return Type:                             Return:                                 Return Type:
  Served:                  Service Type                             Service On:                             Served By:
  Answer:                  Answer Type:                             Notice of No Service:                   Notice of No Answer:




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                      Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 5 of 306
    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      000000                                PRO SE




Party 6 - Defendant BUSINESS - EASTERN SHORE NEUROLOGY CLINIC, INC.
     Party Information
  Party:            D005-Defendant             Name:        EASTERN SHORE NEUROLOGY CLINIC, INC.                         Type:      B-BUSINESS
  Index:            C DONNA BROCKE             Alt Name:                                        Hardship:     No         JID:       BHB
  Address 1:        C/ORASSAN TARABEIN REG AG                                                   Phone:        (205) 000-0000
  Address 2:        22341 MAIN STREET
  City:             FAIRHOPE                   State:       AL                                  Zip:          36532-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                       Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      10/26/2017 Issued Type:    C-CERTIFIED MAIL          Reissue:            11/22/2017          Reissue Type: C-CERTIFIED MAIL
  Return:                  Return Type:                             Return:                                 Return Type:
  Served:                  Service Type                             Service On:                             Served By:
  Answer:                  Answer Type:                             Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      000000                                PRO SE




Party 7 - Defendant BUSINESS - PURDUE PHARMA, L.P.
     Party Information
  Party:            D006-Defendant             Name:        PURDUE PHARMA, L.P.                                          Type:      B-BUSINESS
  Index:            C DONNA BROCKE             Alt Name:                                        Hardship:     No         JID:       BHB
  Address 1:        C/O CORP SER CO, REG AGT                                                    Phone:        (205) 000-0000
  Address 2:        641 SOUTH LAWRENCE STREET
  City:             MONTGOMERY                 State:       AL                                  Zip:          36104-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                       Race:




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                      Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 6 of 306
     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      10/26/2017 Issued Type:    C-CERTIFIED MAIL          Reissue:            10/26/2017          Reissue Type: C-CERTIFIED MAIL
  Return:            Return Type:                                   Return:                                 Return Type:
  Served: 10/30/2017 Service Type C-CERTIFIED MAIL                  Service On:                             Served By:
  Answer:            Answer Type:                                   Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      000000                                PRO SE




Party 8 - Defendant BUSINESS - PFIZER, INC.
     Party Information
  Party:            D007-Defendant             Name:        PFIZER, INC.                                                 Type:      B-BUSINESS
  Index:            C DONNA BROCKE             Alt Name:                                        Hardship:     No         JID:       BHB
  Address 1:        C/O CT CORP SYS, REG AGT                                                    Phone:        (205) 000-0000
  Address 2:        2 N JACKSON ST., STE 605
  City:             MONTGOMERY                 State:       AL                                  Zip:          36104-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                       Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      10/26/2017 Issued Type:    C-CERTIFIED MAIL          Reissue:            10/26/2017          Reissue Type: C-CERTIFIED MAIL
  Return:                  Return Type:                             Return:                                 Return Type:
  Served:                  Service Type                             Service On:                             Served By:
  Answer:                  Answer Type:                             Notice of No Service:                   Notice of No Answer:




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                      Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 7 of 306
    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      000000                                PRO SE




Party 9 - Defendant BUSINESS - ENDO PHARMACEUTICALS, INC.
     Party Information
  Party:            D008-Defendant             Name:        ENDO PHARMACEUTICALS, INC.                                   Type:      B-BUSINESS
  Index:            C DONNA BROCKE             Alt Name:                                        Hardship:     No         JID:       BHB
  Address 1:        1400 ATWATER DRIVE                                                          Phone:        (205) 000-0000
  Address 2:
  City:             MALVERN                    State:       PA                                  Zip:          19355-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                       Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      10/26/2017 Issued Type:    C-CERTIFIED MAIL          Reissue:            11/27/2017          Reissue Type: C-CERTIFIED MAIL
  Return:                  Return Type:                             Return:                                 Return Type:
  Served:                  Service Type                             Service On:                             Served By:
  Answer:                  Answer Type:                             Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      000000                                PRO SE




Party 10 - Defendant BUSINESS - ENDO INTERNATIONAL, PLC
     Party Information
  Party:            D009-Defendant             Name:        ENDO INTERNATIONAL, PLC                                      Type:      B-BUSINESS
  Index:            C DONNA BROCKE             Alt Name:                                        Hardship:     No         JID:       BHB
  Address 1:        1400 ATWATER DRIVE                                                          Phone:        (205) 000-0000
  Address 2:
  City:             MALVERN                    State:       PA                                  Zip:          19355-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                       Race:




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                      Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 8 of 306
     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:       $0.00                           Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      10/26/2017 Issued Type:   C-CERTIFIED MAIL           Reissue:            10/26/2017          Reissue Type: C-CERTIFIED MAIL
  Return:            Return Type:                                   Return:                                 Return Type:
  Served: 10/30/2017 Service Type C-CERTIFIED MAIL                  Service On:                             Served By:
  Answer:            Answer Type:                                   Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      000000                                PRO SE




Party 11 - Defendant BUSINESS - KVK-TECH, INC.
     Party Information
  Party:            D010-Defendant             Name:        KVK-TECH, INC.                                               Type:      B-BUSINESS
  Index:            C DONNA BROCKE             Alt Name:                                        Hardship:     No         JID:       BHB
  Address 1:        110 TERRY DRIVE, STE 200                                                    Phone:        (205) 000-0000
  Address 2:
  City:             NEWTOWN                    State:       PA                                  Zip:          18940-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                       Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:       $0.00                           Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      10/26/2017 Issued Type:   C-CERTIFIED MAIL           Reissue:            10/26/2017          Reissue Type: C-CERTIFIED MAIL
  Return:            Return Type:                                   Return:                                 Return Type:
  Served: 11/06/2017 Service Type C-CERTIFIED MAIL                  Service On:                             Served By:
  Answer:            Answer Type:                                   Notice of No Service:                   Notice of No Answer:




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                       Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 9 of 306
     Attorneys
   Number          Attorney Code Type of Counsel Name                                               Email                                    Phone
   Attorney 1      000000                                  PRO SE




Party 12 - Defendant BUSINESS - ZYDUS PHARMACEUTICALS (USA), INC.
        Party Information
   Party:            D011-Defendant               Name:         ZYDUS PHARMACEUTICALS (USA), INC.                                Type:      B-BUSINESS
   Index:            C DONNA BROCKE               Alt Name:                                             Hardship:     No         JID:       BHB
   Address 1:        73 ROUTE 31 N.                                                                     Phone:        (205) 000-0000
   Address 2:
   City:             PENNINGTON                   State:        NJ                                      Zip:          08534-0000 Country:   US
   SSN:              XXX-XX-X999                  DOB:                                                  Sex:                       Race:


        Court Action
   Court Action:                                                                                                 Court Action Date:
   Amount of Judgement: $0.00                                   Court Action For:                                Exemptions:
   Cost Against Party:         $0.00                            Other Cost:         $0.00                        Date Satisfied:
   Comment:                                                                                                      Arrest Date:
   Warrant Action Date:                                         Warrant Action Status:                           Status Description:


     Service Information
   Issued:      10/26/2017 Issued Type:     C-CERTIFIED MAIL            Reissue:                10/26/2017          Reissue Type: C-CERTIFIED MAIL
   Return:            Return Type:                                      Return:                                     Return Type:
   Served: 11/06/2017 Service Type C-CERTIFIED MAIL                     Service On:                                 Served By:
   Answer:            Answer Type:                                      Notice of No Service:                       Notice of No Answer:


     Attorneys
   Number          Attorney Code Type of Counsel Name                                               Email                                    Phone
   Attorney 1      000000                                  PRO SE




Case Action Summary
Date:        Time           Code       Comments                                                                                                   Operator
10/25/2017   3:09 PM        ECOMP      COMPLAINT E-FILED.                                                                                         BUS021
10/25/2017   3:11 PM        FILE       FILED THIS DATE: 10/25/2017            (AV01)                                                              AJA
10/25/2017   3:11 PM        EORD       E-ORDER FLAG SET TO "Y"                 (AV01)                                                             AJA
10/25/2017   3:11 PM        ASSJ       ASSIGNED TO JUDGE: BEN H. BROOKS                 (AV01)                                                    AJA
10/25/2017   3:11 PM        SCAN       CASE SCANNED STATUS SET TO: N                 (AV01)                                                       AJA
10/25/2017   3:11 PM        TDMJ       JURY TRIAL REQUESTED                   (AV01)                                                              AJA
10/25/2017   3:11 PM        STAT       CASE ASSIGNED STATUS OF: ACTIVE                 (AV01)                                                     AJA
10/25/2017   3:11 PM        ORIG       ORIGIN: INITIAL FILING              (AV01)                                                                 AJA
10/25/2017   3:11 PM        C001       C001 PARTY ADDED: DONNA BROCKEL, AS PERSONAL REPRE                                                         AJA

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                       Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 10 of 306
10/25/2017   3:11 PM     C001   LISTED AS ATTORNEY FOR C001: BUSBY DAVID ANTHONY             AJA
10/25/2017   3:11 PM     C001   INDIGENT FLAG SET TO: N            (AV02)                    AJA
10/25/2017   3:11 PM     C001   LISTED AS ATTORNEY FOR C001: LONG CHARLES BENNETT            AJA
10/25/2017   3:11 PM     C001   C001 E-ORDER FLAG SET TO "N"          (AV02)                 AJA
10/25/2017   3:11 PM     C001   LISTED AS ATTORNEY FOR C001: LAW JONATHON ROBERTS            AJA
10/25/2017   3:11 PM     D001   D001 PARTY ADDED: COUCH JOHN PATRICK #14290-003              AJA
10/25/2017   3:11 PM     D001   CERTIFIED MAI ISSUED: 10/25/2017 TO D001    (AV02)           AJA
10/25/2017   3:11 PM     D001   D001 E-ORDER FLAG SET TO "N"          (AV02)                 AJA
10/25/2017   3:11 PM     D001   INDIGENT FLAG SET TO: N            (AV02)                    AJA
10/25/2017   3:11 PM     D001   LISTED AS ATTORNEY FOR D001: PRO SE          (AV02)          AJA
10/25/2017   3:11 PM     D002   CERTIFIED MAI ISSUED: 10/25/2017 TO D002    (AV02)           AJA
10/25/2017   3:11 PM     D002   LISTED AS ATTORNEY FOR D002: PRO SE          (AV02)          AJA
10/25/2017   3:11 PM     D002   D002 PARTY ADDED: TARABEIN RASSAN M.           (AV02)        AJA
10/25/2017   3:11 PM     D002   INDIGENT FLAG SET TO: N            (AV02)                    AJA
10/25/2017   3:11 PM     D002   D002 E-ORDER FLAG SET TO "N"          (AV02)                 AJA
10/25/2017   3:11 PM     D003   D003 PARTY ADDED: PHYSICIAN PAIN SPECIALISTS OF AL           AJA
10/25/2017   3:11 PM     D003   CERTIFIED MAI ISSUED: 10/25/2017 TO D003    (AV02)           AJA
10/25/2017   3:11 PM     D003   LISTED AS ATTORNEY FOR D003: PRO SE          (AV02)          AJA
10/25/2017   3:11 PM     D003   D003 E-ORDER FLAG SET TO "N"          (AV02)                 AJA
10/25/2017   3:11 PM     D003   INDIGENT FLAG SET TO: N            (AV02)                    AJA
10/25/2017   3:11 PM     D004   D004 PARTY ADDED: C&R PHARMACY, LLC            (AV02)        AJA
10/25/2017   3:11 PM     D004   CERTIFIED MAI ISSUED: 10/25/2017 TO D004    (AV02)           AJA
10/25/2017   3:11 PM     D004   D004 E-ORDER FLAG SET TO "N"          (AV02)                 AJA
10/25/2017   3:11 PM     D004   INDIGENT FLAG SET TO: N            (AV02)                    AJA
10/25/2017   3:11 PM     D004   LISTED AS ATTORNEY FOR D004: PRO SE          (AV02)          AJA
10/25/2017   3:11 PM     D005   D005 PARTY ADDED: EASTERN SHORE NEUROLOGY CLINIC,            AJA
10/25/2017   3:11 PM     D005   INDIGENT FLAG SET TO: N            (AV02)                    AJA
10/25/2017   3:11 PM     D005   CERTIFIED MAI ISSUED: 10/25/2017 TO D005    (AV02)           AJA
10/25/2017   3:11 PM     D005   LISTED AS ATTORNEY FOR D005: PRO SE          (AV02)          AJA
10/25/2017   3:11 PM     D005   D005 E-ORDER FLAG SET TO "N"          (AV02)                 AJA
10/25/2017   3:11 PM     D006   INDIGENT FLAG SET TO: N            (AV02)                    AJA
10/25/2017   3:11 PM     D006   CERTIFIED MAI ISSUED: 10/25/2017 TO D006    (AV02)           AJA
10/25/2017   3:11 PM     D006   LISTED AS ATTORNEY FOR D006: PRO SE          (AV02)          AJA
10/25/2017   3:11 PM     D006   D006 E-ORDER FLAG SET TO "N"          (AV02)                 AJA
10/25/2017   3:11 PM     D006   D006 PARTY ADDED: PURDUE PHARMA, L.P.          (AV02)        AJA
10/25/2017   3:11 PM     D007   LISTED AS ATTORNEY FOR D007: PRO SE          (AV02)          AJA
10/25/2017   3:12 PM     D007   CERTIFIED MAI ISSUED: 10/25/2017 TO D007    (AV02)           AJA
10/25/2017   3:12 PM     D007   D007 PARTY ADDED: PFIZER, INC.        (AV02)                 AJA
10/25/2017   3:12 PM     D007   INDIGENT FLAG SET TO: N            (AV02)                    AJA
10/25/2017   3:12 PM     D007   D007 E-ORDER FLAG SET TO "N"          (AV02)                 AJA
10/25/2017   3:12 PM     D008   INDIGENT FLAG SET TO: N            (AV02)                    AJA
10/25/2017   3:12 PM     D008   D008 E-ORDER FLAG SET TO "N"          (AV02)                 AJA
10/25/2017   3:12 PM     D008   CERTIFIED MAI ISSUED: 10/25/2017 TO D008    (AV02)           AJA
10/25/2017   3:12 PM     D008   LISTED AS ATTORNEY FOR D008: PRO SE          (AV02)          AJA
10/25/2017   3:12 PM     D008   D008 PARTY ADDED: ENDO PHARMACEUTICALS, INC.(AV02)           AJA
10/25/2017   3:12 PM     D009   D009 PARTY ADDED: ENDO INTERNATIONAL, PLC (AV02)             AJA
10/25/2017   3:12 PM     D009   INDIGENT FLAG SET TO: N            (AV02)                    AJA
10/25/2017   3:12 PM     D009   CERTIFIED MAI ISSUED: 10/25/2017 TO D009    (AV02)           AJA
10/25/2017   3:12 PM     D009   D009 E-ORDER FLAG SET TO "N"          (AV02)                 AJA
10/25/2017   3:12 PM     D009   LISTED AS ATTORNEY FOR D009: PRO SE          (AV02)          AJA
10/25/2017   3:12 PM     D010   INDIGENT FLAG SET TO: N            (AV02)                    AJA
10/25/2017   3:12 PM     D010   D010 E-ORDER FLAG SET TO "N"          (AV02)                 AJA
10/25/2017   3:12 PM     D010   D010 PARTY ADDED: KVK-TECH, INC.           (AV02)            AJA


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10/25/2017   3:12 PM     D010    CERTIFIED MAI ISSUED: 10/25/2017 TO D010     (AV02)         AJA
10/25/2017   3:12 PM     D010    LISTED AS ATTORNEY FOR D010: PRO SE          (AV02)         AJA
10/25/2017   3:12 PM     D011    D011 PARTY ADDED: ZYDUS PHARMACEUTICALS (USA), INC          AJA
10/25/2017   3:12 PM     D011    INDIGENT FLAG SET TO: N             (AV02)                  AJA
10/25/2017   3:12 PM     D011    LISTED AS ATTORNEY FOR D011: PRO SE          (AV02)         AJA
10/25/2017   3:12 PM     D011    CERTIFIED MAI ISSUED: 10/25/2017 TO D011     (AV02)         AJA
10/25/2017   3:12 PM     D011    D011 E-ORDER FLAG SET TO "N"           (AV02)               AJA
10/26/2017   11:40 AM    STYL    THE ESTATE OF BRUCE BROCKEL, DECEASED, BY AND THRO          RUP
10/26/2017   11:40 AM    TRAC    CASE ASSIGNED TO: FAST      TRACK          (AV01)           RUP
10/26/2017   11:40 AM    STYL    UGH DONNA BROCKEL, A                (AV01)                  RUP
10/26/2017   11:40 AM    DAT4    FOR: CERT TO BE FILED ON 07/20/2018 @ 0900A (AV01)          RUP
10/26/2017   11:42 AM    C001    C001 NAME CHANGED FROM: DONNA BROCKEL, AS PERSONAL          RUP
10/26/2017   11:42 AM    C001    C001 ADDR1 CHANGED FROM: 30421 STATE HIGHWAY 181            RUP
10/26/2017   11:42 AM    D001    CERTIFIED MAI ISSUED: 10/26/2017 TO D001     (AV02)         RUP
10/26/2017   11:43 AM    D002    CERTIFIED MAI ISSUED: 10/26/2017 TO D002     (AV02)         RUP
10/26/2017   11:43 AM    D003    CERTIFIED MAI ISSUED: 10/26/2017 TO D003     (AV02)         RUP
10/26/2017   11:43 AM    D004    CERTIFIED MAI ISSUED: 10/26/2017 TO D004     (AV02)         RUP
10/26/2017   11:43 AM    D005    CERTIFIED MAI ISSUED: 10/26/2017 TO D005     (AV02)         RUP
10/26/2017   11:43 AM    D006    CERTIFIED MAI ISSUED: 10/26/2017 TO D006     (AV02)         RUP
10/26/2017   11:43 AM    D007    CERTIFIED MAI ISSUED: 10/26/2017 TO D007     (AV02)         RUP
10/26/2017   11:43 AM    D008    CERTIFIED MAI ISSUED: 10/26/2017 TO D008     (AV02)         RUP
10/26/2017   11:43 AM    D009    CERTIFIED MAI ISSUED: 10/26/2017 TO D009     (AV02)         RUP
10/26/2017   11:43 AM    D010    CERTIFIED MAI ISSUED: 10/26/2017 TO D010     (AV02)         RUP
10/26/2017   11:43 AM    D011    CERTIFIED MAI ISSUED: 10/26/2017 TO D011     (AV02)         RUP
10/26/2017   11:44 AM    SORD    SERVICE ORDER SENT TO D001                                  RUP
10/26/2017   11:44 AM    SORD    SERVICE ORDER SENT TO D002                                  RUP
10/26/2017   11:44 AM    SORD    SERVICE ORDER SENT TO D003                                  RUP
10/26/2017   11:44 AM    SORD    SERVICE ORDER SENT TO D004                                  RUP
10/26/2017   11:44 AM    SORD    SERVICE ORDER SENT TO D005                                  RUP
10/26/2017   11:44 AM    SORD    SERVICE ORDER SENT TO D006                                  RUP
10/26/2017   11:44 AM    SORD    SERVICE ORDER SENT TO D007                                  RUP
10/26/2017   11:44 AM    SORD    SERVICE ORDER SENT TO D008                                  RUP
10/26/2017   11:44 AM    SORD    SERVICE ORDER SENT TO D009                                  RUP
10/26/2017   11:44 AM    SORD    SERVICE ORDER SENT TO D010                                  RUP
10/26/2017   11:44 AM    SORD    SERVICE ORDER SENT TO D011                                  RUP
10/26/2017   11:49 AM    ESCAN   SCAN - FILED 10/25/2017 - PRE TRIAL ORDER                   RUP
10/26/2017   4:22 PM     ESCAN   SCAN - FILED 10/25/2017 - SUMMONS ISSUED                    RUP
11/1/2017    2:22 PM     D002    SERVICE OF CERTIFIED MAI ON 10/28/2017 FOR D002             HUP
11/1/2017    2:22 PM     ESERC   SERVICE RETURN                                              HUP
11/2/2017    2:19 PM     D001    SERVICE OF CERTIFIED MAI ON 10/30/2017 FOR D001             HUP
11/2/2017    2:20 PM     ESERC   SERVICE RETURN                                              HUP
11/2/2017    2:24 PM     D006    SERVICE OF CERTIFIED MAI ON 10/30/2017 FOR D006             HUP
11/2/2017    2:25 PM     ESERC   SERVICE RETURN                                              HUP
11/7/2017    2:16 PM     ESERC   SERVICE RETURN                                              HUP
11/7/2017    2:16 PM     D010    SERVICE OF CERTIFIED MAI ON 11/06/2017 FOR D010             HUP
11/7/2017    2:59 PM     ESERC   SERVICE RETURN                                              HUP
11/7/2017    2:59 PM     D011    SERVICE OF CERTIFIED MAI ON 11/06/2017 FOR D011             HUP
11/8/2017    11:20 AM    ESERC   SERVICE RETURN                                              HUP
11/8/2017    11:20 AM    D009    SERVICE OF CERTIFIED MAI ON 10/30/2017 FOR D009             HUP
11/22/2017   9:29 AM     EALIA   ALIAS SUMMONS E-FILED                                       BUS021
11/22/2017   9:30 AM     ETRAN   ALIAS SUMMONS - SUMMONS
11/22/2017   9:30 AM     D003    D003 ADDR1 CHANGED FROM: C/O JOHN P COUCH, REG AGT          AJA
11/22/2017   9:30 AM     D003    D003 ADDR2 CHANGED FROM: 2001 SPRINGHILL AVENUE             AJA


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11/22/2017   9:30 AM     D003    D003 ADDR CITY CHANGED FROM: MOBILE       (AV02)            AJA
11/22/2017   9:30 AM     D003    D003 ADDR STATE CHANGED FROM: AL         (AV02)             AJA
11/22/2017   9:30 AM     D003    REISSUE OF CERTIFIED MA ON 11/22/2017 FOR D003              AJA
11/22/2017   9:33 AM     EALIA   ALIAS SUMMONS E-FILED                                       BUS021
11/22/2017   9:34 AM     ETRAN   ALIAS SUMMONS - SUMMONS
11/22/2017   9:34 AM     D004    D004 ADDR1 CHANGED FROM: C/O JOHN P COUCH, REG AGT          AJA
11/22/2017   9:34 AM     D004    D004 ADDR2 CHANGED FROM: 2001 SPRINGHILL AVENUE             AJA
11/22/2017   9:34 AM     D004    D004 ADDR CITY CHANGED FROM: MOBILE       (AV02)            AJA
11/22/2017   9:34 AM     D004    D004 ADDR STATE CHANGED FROM: AL         (AV02)             AJA
11/22/2017   9:34 AM     D004    REISSUE OF CERTIFIED MA ON 11/22/2017 FOR D004              AJA
11/22/2017   9:36 AM     EALIA   ALIAS SUMMONS E-FILED                                       BUS021
11/22/2017   9:36 AM     D005    D005 ADDR2 CHANGED FROM: 28080 HIGHWAY 98, STE D            AJA
11/22/2017   9:36 AM     D005    D005 ADDR CITY CHANGED FROM: DAPHNE        (AV02)           AJA
11/22/2017   9:36 AM     D005    REISSUE OF CERTIFIED MA ON 11/22/2017 FOR D005              AJA
11/22/2017   9:36 AM     ETRAN   ALIAS SUMMONS - SUMMONS
11/27/2017   9:01 AM     EALIA   ALIAS SUMMONS E-FILED                                       BUS021
11/27/2017   9:01 AM     D008    D008 ADDR1 CHANGED FROM: 220 LAKE DRIVE     (AV02)          AJA
11/27/2017   9:01 AM     D008    D008 ADDR CITY CHANGED FROM: NEWARK        (AV02)           AJA
11/27/2017   9:01 AM     D008    D008 ADDR STATE CHANGED FROM: DE         (AV02)             AJA
11/27/2017   9:01 AM     D008    REISSUE OF CERTIFIED MA ON 11/27/2017 FOR D008              AJA
11/27/2017   9:01 AM     ETRAN   ALIAS SUMMONS - SUMMONS


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                   Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 120 of 306
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                - CIVIL -
                         IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
            THE ESTATE OF BRUCE BROCKEL, DECEASED, BY AND THROUGH DONNA BROCKEL, A
  NOTICE TO:       JOHN PATRICK COUCH #14290-003, C/O FCI FORREST CITY LOW 1400 DALE BUMPERS ROAD, FORREST CITY, AR 72335

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                              .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of THE ESTATE OF BRUCE
                                                                                        BROCKEL, DECEASED, BY
                                                                                        AND THROUGH DONNA
                                                                                        BROCKEL, AS PERSONAL
                                                                                        REPRESENTATIVE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          10/25/2017 3:08:18 PM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ DAVID A BUSBY MR.
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 121 of 306
                   Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 122 of 306
State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                      02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                         IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
            THE ESTATE OF BRUCE BROCKEL, DECEASED, BY AND THROUGH DONNA BROCKEL, A
  NOTICE TO:       RASSAN M. TARABEIN, 22341 MAIN STREET, FAIRHOPE, AL 36532

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                               .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of THE ESTATE OF BRUCE
                                                                                        BROCKEL, DECEASED, BY
                                                                                        AND THROUGH DONNA
                                                                                        BROCKEL, AS PERSONAL
                                                                                        REPRESENTATIVE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          10/25/2017 3:08:18 PM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                              (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                         /s/ DAVID A BUSBY MR.
                                                                 (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                          (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                    (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                               (Phone Number of Server)
Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 123 of 306
                   Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 124 of 306
State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                      02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                         IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
            THE ESTATE OF BRUCE BROCKEL, DECEASED, BY AND THROUGH DONNA BROCKEL, A
  NOTICE TO:       PHYSICIAN PAIN SPECIALISTS OF ALABAMA, P.C., C/O JOHN P COUCH, REG AGT 2001 SPRINGHILL AVENUE, MOBILE, AL 36607

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                               .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of THE ESTATE OF BRUCE
                                                                                        BROCKEL, DECEASED, BY
                                                                                        AND THROUGH DONNA
                                                                                        BROCKEL, AS PERSONAL
                                                                                        REPRESENTATIVE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          10/25/2017 3:08:18 PM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                              (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                         /s/ DAVID A BUSBY MR.
                                                                 (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                          (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                    (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                               (Phone Number of Server)
Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 125 of 306
                   Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 126 of 306
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                - CIVIL -
                         IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
            THE ESTATE OF BRUCE BROCKEL, DECEASED, BY AND THROUGH DONNA BROCKEL, A
  NOTICE TO:       C&R PHARMACY, LLC, C/O JOHN P COUCH, REG AGT 2001 SPRINGHILL AVENUE, MOBILE, AL 36607

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                              .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of THE ESTATE OF BRUCE
                                                                                        BROCKEL, DECEASED, BY
                                                                                        AND THROUGH DONNA
                                                                                        BROCKEL, AS PERSONAL
                                                                                        REPRESENTATIVE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          10/25/2017 3:08:18 PM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ DAVID A BUSBY MR.
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                   (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 127 of 306
                   Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 128 of 306
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                - CIVIL -
                         IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
            THE ESTATE OF BRUCE BROCKEL, DECEASED, BY AND THROUGH DONNA BROCKEL, A
  NOTICE TO:       EASTERN SHORE NEUROLOGY CLINIC, INC., C/ORASSAN TARABEIN REG AG 28080 HIGHWAY 98, STE D, DAPHNE, AL 36526

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                              .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
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     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of THE ESTATE OF BRUCE
                                                                                        BROCKEL, DECEASED, BY
                                                                                        AND THROUGH DONNA
                                                                                        BROCKEL, AS PERSONAL
                                                                                        REPRESENTATIVE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          10/25/2017 3:08:18 PM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ DAVID A BUSBY MR.
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 129 of 306
                   Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 130 of 306
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                - CIVIL -
                         IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
            THE ESTATE OF BRUCE BROCKEL, DECEASED, BY AND THROUGH DONNA BROCKEL, A
  NOTICE TO:       PURDUE PHARMA, L.P., C/O CORP SER CO, REG AGT 641 SOUTH LAWRENCE STREET, MONTGOMERY, AL 36104

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                              .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of THE ESTATE OF BRUCE
                                                                                        BROCKEL, DECEASED, BY
                                                                                        AND THROUGH DONNA
                                                                                        BROCKEL, AS PERSONAL
                                                                                        REPRESENTATIVE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          10/25/2017 3:08:18 PM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ DAVID A BUSBY MR.
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 131 of 306
                   Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 132 of 306
State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                      02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                         IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
            THE ESTATE OF BRUCE BROCKEL, DECEASED, BY AND THROUGH DONNA BROCKEL, A
  NOTICE TO:       PFIZER, INC., C/O CT CORP SYS, REG AGT 2 N JACKSON ST., STE 605, MONTGOMERY, AL 36104

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                               .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
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              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
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     this action upon the above-named Defendant.
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                                                                                        BROCKEL, DECEASED, BY
                                                                                        AND THROUGH DONNA
                                                                                        BROCKEL, AS PERSONAL
                                                                                        REPRESENTATIVE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          10/25/2017 3:08:18 PM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                              (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                         /s/ DAVID A BUSBY MR.
                                                                 (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                          (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                    (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                               (Phone Number of Server)
Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 133 of 306
                   Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 134 of 306
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                - CIVIL -
                         IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
            THE ESTATE OF BRUCE BROCKEL, DECEASED, BY AND THROUGH DONNA BROCKEL, A
  NOTICE TO:       ENDO PHARMACEUTICALS, INC., 220 LAKE DRIVE, NEWARK, DE 19702

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                              .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
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              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
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     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of THE ESTATE OF BRUCE
                                                                                        BROCKEL, DECEASED, BY
                                                                                        AND THROUGH DONNA
                                                                                        BROCKEL, AS PERSONAL
                                                                                        REPRESENTATIVE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          10/25/2017 3:08:18 PM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ DAVID A BUSBY MR.
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                   (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 135 of 306
                   Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 136 of 306
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                - CIVIL -
                         IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
            THE ESTATE OF BRUCE BROCKEL, DECEASED, BY AND THROUGH DONNA BROCKEL, A
  NOTICE TO:       ENDO INTERNATIONAL, PLC, 1400 ATWATER DRIVE, MALVERN, PA 19355

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                              .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of THE ESTATE OF BRUCE
                                                                                        BROCKEL, DECEASED, BY
                                                                                        AND THROUGH DONNA
                                                                                        BROCKEL, AS PERSONAL
                                                                                        REPRESENTATIVE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          10/25/2017 3:08:18 PM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ DAVID A BUSBY MR.
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 137 of 306
                   Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 138 of 306
State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                      02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                         IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
            THE ESTATE OF BRUCE BROCKEL, DECEASED, BY AND THROUGH DONNA BROCKEL, A
  NOTICE TO:       KVK-TECH, INC., 110 TERRY DRIVE, STE 200, NEWTOWN, PA 18940

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                               .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
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              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
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                                                                                        BROCKEL, DECEASED, BY
                                                                                        AND THROUGH DONNA
                                                                                        BROCKEL, AS PERSONAL
                                                                                        REPRESENTATIVE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          10/25/2017 3:08:18 PM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                              (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                         /s/ DAVID A BUSBY MR.
                                                                 (Plaintiff's/Attorney's Signature)


                                                     RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                          (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                    (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                               (Phone Number of Server)
Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 139 of 306
                   Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 140 of 306
State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                      02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                         IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
            THE ESTATE OF BRUCE BROCKEL, DECEASED, BY AND THROUGH DONNA BROCKEL, A
  NOTICE TO:       ZYDUS PHARMACEUTICALS (USA), INC., 73 ROUTE 31 N., PENNINGTON, NJ 08534

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                               .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
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              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
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                                                                                        BROCKEL, DECEASED, BY
                                                                                        AND THROUGH DONNA
                                                                                        BROCKEL, AS PERSONAL
                                                                                        REPRESENTATIVE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          10/25/2017 3:08:18 PM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                              (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                         /s/ DAVID A BUSBY MR.
                                                                 (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                          (Date)
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                    (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                               (Phone Number of Server)
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                                                          11/22/2017 9:29 AM
                                                         02-CV-2017-902787.00
                                                         CIRCUIT COURT OF
                                                     MOBILE COUNTY, ALABAMA
                                                     JOJO SCHWARZAUER, CLERK
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State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                      02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                                 IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
                             ESTATE OF BRUCE BROCKEL ETC V. JOHN PATRICK COUCH ET AL
  NOTICE TO:       PHYSICIAN PAIN SPECIALISTS OF ALABAMA, P.C., JOHN P. COUCH #14290-003 FCI FORREST CITY LOW, FORREST CITY, AR 72335

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  DAVID A BUSBY MR.                                                                              ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                               .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
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                                                                                        DECEASED BY & THROUGH
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          11/22/2017 9:29:37 AM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                              (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                         /s/ DAVID A BUSBY MR.
                                                                 (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
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                                                                                                          (Date)
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                     (Name of Person Served)                                                    (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                               (Phone Number of Server)
Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 218 of 306
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                            DOCUMENT 33
                                                       ELECTRONICALLY FILED
                                                          11/22/2017 9:33 AM
                                                         02-CV-2017-902787.00
                                                         CIRCUIT COURT OF
                                                     MOBILE COUNTY, ALABAMA
                                                     JOJO SCHWARZAUER, CLERK
Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 220 of 306
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Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 229 of 306
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Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 230 of 306
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Case 1:17-cv-00521-KD-MU Document 1-2 Filed 11/27/17 Page 234 of 306
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State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                - CIVIL -
                                 IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
                             ESTATE OF BRUCE BROCKEL ETC V. JOHN PATRICK COUCH ET AL
  NOTICE TO:       C&R PHARMACY, LLC, JOHN P. COUCH #14290-003 FCI FORREST CITY LOW, FORREST CITY, AR 72335

                                                              (Name and Address of Defendant)
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                              .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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                                                                                        DECEASED BY & THROUGH
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          11/22/2017 9:34:02 AM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ DAVID A BUSBY MR.
                                                                (Plaintiff's/Attorney's Signature)


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                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                   (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
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                            DOCUMENT 36
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                                                          11/22/2017 9:36 AM
                                                         02-CV-2017-902787.00
                                                         CIRCUIT COURT OF
                                                     MOBILE COUNTY, ALABAMA
                                                     JOJO SCHWARZAUER, CLERK
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State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                - CIVIL -
                                 IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
                             ESTATE OF BRUCE BROCKEL ETC V. JOHN PATRICK COUCH ET AL
  NOTICE TO:       EASTERN SHORE NEUROLOGY CLINIC, INC., C/ORASSAN TARABEIN REG AG 22341 MAIN STREET, FAIRHOPE, AL 36532

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                              .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of ESTATE OF BRUCE BROCKEL
                                                                                        DECEASED BY & THROUGH
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          11/22/2017 9:36:39 AM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ DAVID A BUSBY MR.
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
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                            DOCUMENT 39
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                                                         02-CV-2017-902787.00
                                                         CIRCUIT COURT OF
                                                     MOBILE COUNTY, ALABAMA
                                                     JOJO SCHWARZAUER, CLERK
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State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     02-CV-2017-902787.00
Form C-34 Rev. 4/2017                                - CIVIL -
                                 IN THE CIRCUIT COURT OF MOBILE COUNTY, ALABAMA
                             ESTATE OF BRUCE BROCKEL ETC V. JOHN PATRICK COUCH ET AL
  NOTICE TO:       ENDO PHARMACEUTICALS, INC., 1400 ATWATER DRIVE, MALVERN, PA 19355

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  DAVID A BUSBY MR.                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 30421 Highway 181, DAPHNE, AL 36526                                                                              .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of ESTATE OF BRUCE BROCKEL
                                                                                        DECEASED BY & THROUGH
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

          11/27/2017 9:01:12 AM                          /s/ JOJO SCHWARZAUER                By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ DAVID A BUSBY MR.
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
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